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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 JANIAH MONROE, MARILYN
 MELENDEZ, EBONY STAMPS, LYDIA
 HELENA VISION, SORA
 KUYKENDALL, and SASHA REED,

                        Plaintiffs,

 v.                                              Case No. 18-CV-00156-NJR-MAB

 JOHN BALDWIN, STEVE MEEKS, and
 MELVIN HINTON,

                        Defendants.

                           PRELIMINARY INJUNCTION

ROSENSTENGEL, Chief Judge:

         Pursuant to Rule 65(d)(1)(C) of the Federal Rules of Civil Procedure and

MillerCoors LLC v. Anheuser-Busch Companies, LLC, 940 F.3d 922 (7th Cir. 2019), the Court

issues the following preliminary injunctive relief.

         The Court ORDERS Defendants to immediately:

      1. cease the policy and practice of allowing the Transgender Committee to
         make the medical decisions regarding gender dysphoria and develop a
         policy to ensure that decisions about treatment for gender dysphoria are
         made by medical professionals who are qualified to treat gender dysphoria;

      2. cease the policy and practice of denying and delaying hormone therapy for
         reasons that are not recognized as contraindications to treatment, ensure
         timely hormone therapy is provided when necessary, and perform routine
         monitoring of hormone levels; and

      3. cease the policy and practice of depriving gender dysphoric prisoners of
         medically necessary social transition, including by mechanically assigning
         housing based on genitalia and/or physical size or appearance.




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The Court FURTHER ORDERS Defendants to:

   1. develop policies and procedures which allow transgender inmates access
      to clinicians who meet the competency requirements stated in the WPATH
      Standards of Care to treat gender dysphoria;

   2. allow inmates to obtain evaluations for gender dysphoria upon request or
      clinical indications of the condition;

   3. develop a policy to allow transgender inmates medically necessary social
      transition, including individualized placement determinations, avoidance
      of cross-gender strip searches, and access to gender-affirming clothing and
      grooming items; and

   4. advise the Court what steps, if any, IDOC has taken to train all correctional
      staff on transgender issues, including the harms caused by misgendering
      and harassment—by both IDOC staff and other inmates.

      Defendants are ORDERED to advise the Court in writing, on or before January

22, 2020, as to what actions they have taken to implement the directives of this Order.


      IT IS SO ORDERED.

      DATED: December 19, 2019


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                                                NANCY J. ROSENSTENGEL
                                                Chief U.S. District Judge




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